         Case 1:18-cr-00032-DLF Document 344 Filed 02/17/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
               v.
                                                          1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,                                           FILED UNDER SEAL

       Defendant.


        DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
           MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”),

through counsel, respectfully moves for leave of Court to file under seal its Opposition to the

Government’s Motion in Limine to Admit Documents (Concord’s “Opposition”). In support of

this motion, Concord states as follows:

       Portions of the Opposition refer to information contained in the discovery materials the

government has designated as sensitive pursuant to the Further Revised Protective Order, see

ECF 302, and portions of the government’s Motion, which was filed under seal, ECF 335-1.

There is also one exhibit to the Opposition which is a document that the government has

designated as Intermediate Sensitive. Accordingly, Concord seeks to file its Opposition and

exhibits under seal and proposes filing a redacted version on the public docket.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the
         Case 1:18-cr-00032-DLF Document 344 Filed 02/17/20 Page 2 of 3




decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       A proposed order is filed herewith.

Dated: February 17, 2020                            Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                               By: /s/ Eric A. Dubelier
                                                   Eric A. Dubelier (D.C. Bar No. 419412)
                                                   Katherine J. Seikaly (D.C. Bar No. 498641)
                                                   REED SMITH LLP
                                                   1301 K Street, N.W.
                                                   Suite 1000 - East Tower
                                                   Washington, DC 20005-3373
                                                   202.414.9200 (phone)
                                                   202.414.9299 (fax)
                                                   edubelier@reedsmith.com
                                                   kseikaly@reedsmith.com
         Case 1:18-cr-00032-DLF Document 344 Filed 02/17/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2020, I caused a true and correct copy of the

foregoing Motion for Leave to File Under Seal to be filed under seal via CM/ECF and

transmitted to the following counsel of record via electronic mail:


Luke Jones
Peter Lallas
Adam Jed
U.S. ATTORNEY’S OFFICE FOR THE
DISTRICT OF COLUMBIA
555 Fourth Street, NW
Washington, DC 20530
luke.jones@usdoj.gov
peter.lallas@usdoj.gov
Adam.Jed@usdoj.gov

Jason B.A. McCullough
Heather N. Alpino
U.S. DEPARTMENT OF JUSTICE
National Security Division
950 Pennsylvania Avenue, NW
Washington, DC 20530
jason.mccullough@usdoj.gov
heather.alpino@usdoj.gov




                                          By:_/s/ Katherine J. Seikaly _______________
                                             Katherine J. Seikaly (D.C. Bar No. 498641)
                                             REED SMITH LLP
                                             1301 K Street, N.W.
                                             Suite 1000 – East Tower
                                             Washington, DC 20005-3373
                                             202.414.9200 (phone)
                                             202.414.9299 (fax)
                                             kseikaly@reedsmith.com
